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From: Veatch, Christopher (USAILN)

To: Eugene Gorokhov

Subject: U.S. v. Matthew Klein - Previously Produced Items

Date: Tuesday, June 1, 2021 3:49:00 PM

Attachments: 5.5.2021 Preliminary Discovery Letter to Counsel (U.S. v. J&M Klein).pdf

Hello Eugene,
Please see the attached letter, which was sent to prior counsel — Steve Kiersh.

I will be sending you an invitation to the USAfx folder for this matter. The files for
preliminary discovery are found with in the zip files named “5.5.2021 Preliminary
Discovery — Updated”; “5. 28. 2021 Preliminary Video Discovery (Non-Sensitive) Part 1”;

Please let me know if you have any questions, as well as if there are certain items you
would like access to as we prepare formal discovery.

Thanks!
Chris

Christopher K. Veatch
Assistant U.S. Attorney | N.D. of Illinois (on detail to the District of Columbia)

219 S. Dearborn Street, 5“ Floor, Chicago, IL 60604 | 312-886-3389 | c

